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                                                     December 13, 2022

      Hon. Judge Lorna Schofield
      United States District Court
      Southern District of New York
      500 Pearl Street
      New York, NY

                        Re: Ramon Oliveras v. Long Island Railroad Company
                        22 Civ. 4600(LGS)

      Dear Judge Schofield:

           This office represents the defendant, Long Island Railroad
      Company.

           In response to the Court’s Memo Endorsement dated 12/12/22,
      defendant has proffered to plaintiff 12/16 for depositions of two
      Long Island Railroad witnesses: Mr. Tustin and Mr. Brush.

                                                     Very truly yours,

                                                     KREZ & FLORES, LLP

                                                     William J. Blumenschein
                                                     WILLIAM J. BLUMENSCHEIN
      WJB/kf
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